                              Case 19-12262-CSS                     Doc 1        Filed 10/21/19            Page 1 of 12
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  Delaware
 ____________________ District of _________________
                                       (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Northstar Healthcare Holdings, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              1 ___
                                           ___ 1 – ___
                                                     3 ___
                                                        8 ___
                                                           0 ___
                                                              8 ___
                                                                 0 2___ 2
                                                                        ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            11700 Katy Freeway
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 300
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Houston                         TX        77079
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.nobilishealth.com
                                           ____________________________________________________________________________________________________


                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor           Northstar Healthcare Holdings, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              6 ___
                                            ___  2 ___
                                                    2 ___
                                                       1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?
                                         ✔ Chapter 7
                                         
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,, (amount subject to adjustment on
                                                             4/01/ and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an             ✔ Yes.
                                                          See attached list.
                                                   Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Northstar Healthcare Holdings, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       ✔ No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                       

                                        1-49                           ✔ 1,000-5,000
                                                                                                                  25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million            ✔ $100,000,001-$500 million
                                                                                                                  More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor         Northstar Healthcare Holdings, Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million               
                                                                            ✔ $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        10/21/2019
                                            Executed on _________________
                                                        MM / DD / YYYY
                                            /s/ Samuel Palermo
                                        8   _____________________________________________              Samuel Palermo
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                  Chief Restructuring Officer
                                            Title _________________________________________




18.   Signature of attorney
                                        8 /s/ Robert J. Dehney
                                            _____________________________________________              Date
                                                                                                                10/21/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                            Robert J. Dehney
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Morris, Nichols, Arsht & Tunnell LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1201           North Market Street - P.O. Box 1347
                                            _________________________________________________________________________________________________
                                            Number      Street
                                            Wilmington
                                            ____________________________________________________            DE             19899-1347
                                                                                                           ____________ ______________________________
                                            City                                                           State        ZIP Code

                                            302-658-9200
                                            ____________________________________                              rdehney@mnat.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            3578                                                   DE
                                            ______________________________________________________ ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                                              RIDER

    PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

        On October 18, 2019, each of the affiliated entities listed below (including the debtor in
this chapter 7 case) filed a voluntary petition for relief under title 11 of the United States Code in
the United States Bankruptcy Court for the District of Delaware.

                                                                Federal Employer
                 Entity Name
                                                           Identification Number (EIN)
Nobilis Health Corp.                                XX-XXXXXXX
Northstar Healthcare Holdings, Inc.                 XX-XXXXXXX
Northstar Healthcare Acquisitions, L.L.C.           XX-XXXXXXX
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                                        Chapter 7

NORTHSTAR HEALTHCARE HOLDINGS,                                                Case No. 19-___________
INC.2

                            Debtor.



                                    CORPORATE OWNERSHIP STATEMENT

        Pursuant to Federal Rule Bankruptcy Procedure 1007(a)(1), other than a governmental
unit, all corporation(s) that directly or indirectly own 10% or more of any class of the
corporation’s equity interests are listed below:

                         SHAREHOLDER                                      CLASS                      EQUITY SECURITY%
                         Nobilis Health Corp.                          Common Shares                       100%




2
  The last four digits of the Debtor’s federal tax identification number are 8022. The Debtor’s corporate headquarters and mailing address is
11700 Katy Freeway, Suite 300, Houston, TX 77079.
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                                        Chapter 7

NORTHSTAR HEALTHCARE HOLDINGS,                                                Case No. 19-___________
INC.1

                            Debtor.



                                      LIST OF EQUITY SECURITY HOLDERS

           The above-captioned debtor and debtor-in-possession hereby submits the list attached
hereto as Exhibit A, pursuant to Federal Rule Bankruptcy Procedure 1007(a)(3), containing the
List of Equity Security Holders of the Debtor.




1
  The last four digits of the Debtor’s federal tax identification number are 8022. The Debtor’s corporate headquarters and mailing address is
11700 Katy Freeway, Suite 300, Houston, TX 77079.
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                                         Exhibit A

                               List of Equity Security Holder



         Entity Name                  Mailing Address                Common Shares

Nobilis Health Corp.         11700 Katy Frwy., Suite 300                  27,334
                             Houston, TX 77079
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                                 Case 19-12262-CSS                Doc 1           Filed 10/21/19              Page 12 of 12

 Fill in this information to identify the case and this filing:


               Northstar Healthcare Holdings, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                        Corporate Ownership Statement, List of Equity Security Holders
         
         ✔    Other document that requires a declaration_________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                                                              /s/ Samuel Palermo
                    10/21/2019
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                Samuel Palermo
                                                                ________________________________________________________________________
                                                                Printed name
                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
